                   Case 23-10576-TMH            Doc 606          Filed 08/31/23      Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                             )    Chapter 7
    In re:                                                   )
                                                             )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                      )
                                                             )    Jointly Administered
                                                             )
    Debtors                                                  )    Re: D.I. 588
                                                             )

                      ORDER COMPELLING THE TURNOVER OF ESTATE
                     PROPERTY AND ENFORCING THE AUTOMATIC STAY

             Upon the motion (the “Emergency Motion”)2 of George L. Miller, chapter 7 trustee ( the

“Trustee”) of the above-captioned debtors and debtors in possession (collectively, the “Debtors”)

for entry of an order (this “Order”) (a) compelling Bank of America, N.A. (collectively, “BOA”)

to turn over certain funds held in BOA accounts belonging to the Debtors’ estates (the “Withheld

Funds”) and (b) enforcing the automatic stay extant in chapter 11 cases by requiring BOA to turn

over the Debtors’ property and cease all actions to obtain payment of any alleged prepetition

claims, all as more fully set forth in the Emergency Motion; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that

this Court may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Emergency Motion in this district is




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  The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are as
follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz Family
Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).
2
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Emergency
Motion or Conversion Order.


DOCS_DE:244387.4 57097/001
                Case 23-10576-TMH        Doc 606      Filed 08/31/23     Page 2 of 3




proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Trustee’s

notice of the Emergency Motion and opportunity for a hearing on the Emergency Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Emergency Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Emergency Motion and at the Hearing establish just cause

for the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Emergency Motion is granted as set forth herein.

        2.       BOA shall immediately provide the Trustee with the account statements for the

period August 1, 2023 through the date of the entry of this Order for the Debtors’ accounts at BOA

in accordance with section 542 of the Bankruptcy Code.

        3.       BOA shall provide for, and coordinate with the Trustee regarding the immediate

turnover of $2,873,844.04 (the “Initial Turnover Amount”) to the Trustee, no later than September

1, 2023, which Initial Turnover Amount represents a partial amount of the funds held by BOA

owed to the Debtors’ estates.

        4.       The parties reserve any and all rights regarding any remaining funds held by BOA.

        5.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity; (b) a waiver of the Trustee’s right to dispute any

prepetition claim on any grounds; (c) a promise or requirement to pay any prepetition claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this Order or

the Emergency Motion; (e) a request or authorization to assume any prepetition agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; or (f) a waiver or limitation of
                                              2
DOCS_DE:244387.4 57097/001
                Case 23-10576-TMH         Doc 606      Filed 08/31/23     Page 3 of 3




the Trustee or Debtors’ rights or the rights of any other Person under the Bankruptcy Code or any

other applicable law.

        6.       All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        7.       This Order does not adjudicate or impose sanctions for violation of the automatic

stay, provided however, all of the parties’ rights are reserved regarding the request and imposition

of sanctions.

        8.       The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Emergency Motion.

        9.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




             Dated: August 31st, 2023              THOMAS M. HORAN
             Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE



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DOCS_DE:244387.4 57097/001
